             Case 7:22-cv-09910 Document 1 Filed 11/21/22 Page 1 of 18




Dale M. Cendali
Joshua L. Simmons
KIRKLAND & ELLIS LLP
601 Lexington Avenue
New York, NY 10022
Telephone: (212) 446-4800
Facsimile: (212) 446-6460
dale.cendali@kirkland.com
joshua.simmons@kirkland.com

James John Lomeo (pro hac vice pending)
KIRKLAND & ELLIS LLP
401 Congress Avenue
Austin, TX 78701
Telephone: (512) 678-9100
Facsimile: (512) 678-9101
james.lomeo@kirkland.com

Attorneys for Plaintiff

                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


IBM CORPORATION,                                    Case No. 22-cv-9910

                          Plaintiff,                          ECF Case

       - against -                                  DEMAND FOR JURY TRIAL

MIRCO FOCUS INTERNATIONAL PLC and
MICRO FOCUS (US), INC.

                          Defendants.


                                        COMPLAINT

       Plaintiff IBM Corporation (“IBM” or “Plaintiff”), by and through its attorneys, Kirkland

& Ellis LLP, for its Complaint, hereby alleges against Defendants Micro Focus International plc

(“Micro Focus UK”) and Micro Focus (US), Inc. (“Micro Focus US”) (collectively, “Micro Focus”

or “Defendants”) as follows:
            Case 7:22-cv-09910 Document 1 Filed 11/21/22 Page 2 of 18




                                 NATURE OF THE ACTION

       1.      IBM brings this lawsuit to protect valuable intellectual property that is critical to

IBM’s powerful and innovative mainframe systems and that has been stolen by Micro Focus.

Micro Focus made the willful decision to copy and steal IBM’s software in violation of copyright

law. Moreover, Micro Focus entered into contracts with IBM to benefit from IBM’s developer

programs and get access to IBM’s technology, and then purposefully breached the terms of those

agreements to suit Micro Focus’s own ends. This violates IBM’s intellectual property rights,

undermines the investments it has made in software innovation, and unfairly deprives IBM of

revenues attributable to its software. Micro Focus’s actions must be stopped.

       2.      As part of IBM’s mission to innovate continuously for its customers, IBM provides

critical mainframe systems for the business needs of, for example, the world’s banks, airlines, and

many government agencies. IBM’s systems provide unparalleled reliability, scalability, and

security. As a result, users rely on them for their most critical computational workloads. IBM

mainframe systems are composed, in part, of IBM’s proprietary computers and software, and they

are designed to meet the changing needs of IBM’s customers. For example, as customers

increasingly seek to use IBM’s systems for Internet-based applications, IBM has developed

technology that allows customers to create web services that extend their mainframe application

programs using IBM computer programs. Those IBM programs make it possible for data from the

web-services applications to be used by mainframe applications and vice versa.

       3.      Another way IBM serves its customers’ needs is through its collaboration with

third-party software developers, like Micro Focus. Through these relationships, the developers

obtain substantially discounted access to IBM products, software, and other benefits. In exchange

for these benefits, the developers enter into contracts with IBM that govern the developers’ use of

the IBM products and software. Put simply, the developers promise to use their access to these


                                                 2
              Case 7:22-cv-09910 Document 1 Filed 11/21/22 Page 3 of 18




IBM products and software to develop software applications for the IBM mainframe systems and

promote the use of those systems. The developers also promise not to misuse IBM’s software,

including by reverse engineering IBM’s software or putting it to purposes not expressly authorized

by IBM.

       4.      Micro Focus is one such developer. Yet, IBM has learned that Micro Focus has

copied IBM’s computer programs without authorization and breached its agreements that it

previously entered into with IBM. Specifically, it recently came to IBM’s attention that Micro

Focus copied IBM’s copyrighted program to create a derivative software application that Micro

Focus not only promotes heavily worldwide, but also has used and presently uses in direct violation

of its agreements with IBM.

       5.      This illegal opportunism, willful infringement, and blatant breach of Micro Focus’s

contractual obligations leaves IBM with no choice but to seek injunctive and monetary relief from

this Court.

                                        THE PARTIES

       6.      Plaintiff IBM is a New York corporation with its principal place of business in this

District at 1 Orchard Road, Armonk, New York 10504. It is qualified to do business and is doing

business in the State of New York.

       7.      Upon information and belief, Defendant Micro Focus US is a Delaware corporation

with its principal place of business at 700 King Farm Boulevard, Suite 400, Rockville, Maryland,

20850-5736.

       8.      Upon information and belief, Defendant Micro Focus UK is a United Kingdom

corporation with its principal place of business at The Lawn 22-30 Old Bath Road, Newbury,

Berkshire, RG14 1QN, United Kingdom.




                                                3
             Case 7:22-cv-09910 Document 1 Filed 11/21/22 Page 4 of 18




       9.        Upon information and belief, Micro Focus created software called Micro Focus

Enterprise Server and Micro Focus Enterprise Developer (collectively, “Micro Focus Enterprise

Suite” or the “Accused Works”) by using its developer access to copy IBM’s CICS Transaction

Server for z/OS (“CICS® TS”) software. Micro Focus published, distributed, and promoted the

Accused Works, and Micro Focus continues to do so today.

       10.       Upon information and belief, at all times mentioned in this complaint, each

Defendant was the agent of the other Defendant and, in doing the things alleged in this complaint,

was acting within the course and scope of such agency.

                                 JURISDICTION AND VENUE

       11.       This civil action seeking damages, injunctive relief, and other equitable relief,

arises under the Copyright Act of 1976, 17 U.S.C. § 101 et seq and New York state law.

       12.       This Court has subject matter jurisdiction over IBM’s claims for copyright

infringement pursuant to 28 U.S.C. §§ 1331 and 1338. Additionally, this Court has subject matter

jurisdiction pursuant to 28 U.S.C. § 1332 because the amount in controversy exceeds the sum or

value of $75,000, and the action is between a New York citizen and citizens of Delaware and

Maryland and a foreign jurisdiction.

       13.       This Court has supplemental jurisdiction over the state law claim pursuant to 28

U.S.C. § 1367.

       14.       This Court has personal jurisdiction over Defendants because they have

purposefully directed their activities at the United States, and at New York in particular; have

purposefully availed themselves of the benefits of doing business in New York; have established

a continuing presence in New York; and as further alleged below, promote and distribute the

Accused Works in the State of New York. For example, upon information and belief, Defendants

solicit talent from the State of New York, including job postings targeting New York City


                                                 4
             Case 7:22-cv-09910 Document 1 Filed 11/21/22 Page 5 of 18




employees, including positions in Defendants’ information technology, sales, and engineering

departments.

       15.     Upon information and belief, Defendants conduct extensive and ongoing business

with customers in the United States and the State of New York. Specifically, they have distributed

the Accused Works in the State of New York to at least the following New York-based companies,

each of with whom Defendants have entered into contracts: Deutsche Bank USA, McGraw Hill

Education, New York State Division of Criminal Justice, and Citi Bank. Further, Defendants

advertise and market the Accused Works in the State of New York, including without limitation

on their website, which is accessible in the State of New York.

       16.     Upon information and belief, Defendants also have directed their unlawful

activities at IBM, knowing and intending that IBM would be harmed by Defendants’ conduct in

the United States and primarily in the State of New York, where IBM has its principal place of

business. Indeed, Defendants’ agreements with IBM specifically indicate that they will be

governed by New York law.

       17.     Venue is proper in this District under 28 U.S.C. §§ 1391 and 1400 because this is

a judicial district in which a substantial part of the events giving rise to the claims occurred, and/or

in which IBM’s injury was suffered.

               ALLEGATIONS COMMON TO ALL CLAIMS FOR RELIEF

I.     IBM creates and invests in innovative computer programs, including its CICS® TS.

       18.     Founded over a century ago, IBM continues to be one of the world’s leading

technology companies, pioneering the field of information technology and working at the forefront

of a worldwide industry that revolutionizes the way in which enterprises, organizations, and people

operate and thrive.




                                                   5
             Case 7:22-cv-09910 Document 1 Filed 11/21/22 Page 6 of 18




       19.     IBM promotes a model that emphasizes collaboration with its developers to

promote innovation, cost-reduction, and productivity.

       20.     IBM’s server and hybrid cloud offerings include IBM mainframe systems. These

powerful systems allow for the extremely reliable and secure processing of vast amounts of data

at fast speeds and can process up to one trillion web transactions per day. IBM’s mainframe

systems boast unequaled reliability, scalability and security, and provide customers with effective

and secure computing services for their large-scale data-processing needs. IBM’s mainframe

systems include both the mainframe server, the latest of which is the IBM z16 server, and an

extensive suite of associated IBM-developed operating systems and other IBM software. IBM’s

industry-leading mainframe systems are used for various mission-critical applications by the

world’s banks, airlines, and many government agencies, among others.

       21.     One of the mainframe offerings that IBM has developed is called the zSystem, a

family of industry leading servers that embody continuing investment and modernization. For

example, the new IBM z16 server uses on-chip AI inferencing and industry-first quantum safe

technologies. Other features include simplified compliance, flexible capacity, and a smaller

energy footprint that reduces costs. IBM has invested enormous amounts of time, money, energy,

and resources into developing its cutting-edge IBM zSystems servers.

       22.     IBM’s mainframe systems do not just offer innovative hardware—IBM’s software

also is highly innovative. IBM’s current z16 servers can run multiple operating systems including

IBM’s flagship z/OS® operating system. One of the many ways IBM mainframe offerings excel

is by offering a general-purpose application server and transaction processing subsystem called

the CICS Transaction Server for z/OS, or “CICS® TS,” for its z/OS® operating system

environment.




                                                6
             Case 7:22-cv-09910 Document 1 Filed 11/21/22 Page 7 of 18




       23.     CICS® TS helps to unleash the full potential of IBM’s mainframe systems by

providing services for running applications online, by request, at the same time as many other users

are submitting requests to run the same applications, using the same programs and resources such

as files and databases. A CICS® TS application is a collection of related programs that together

perform a business operation, such as processing a travel request or preparing a company payroll.

       24.     As mobile and networked devices became ubiquitous, the need for cross-platform

capabilities grew.   CICS® TS enables CICS® TS applications to communicate with these

non-CICS® systems. This innovation enables IBM’s customers’ applications to work online and

across various platforms—protecting IBM’s customers’ investment in their IBM mainframe

systems.

       25.     One way the CICS® TS enables this cross-platform capability is its support for web

services. Given the widespread use of networked devices, it is helpful to make various services

accessible via various types of networks. CICS® TS Web Services enables IBM’s mainframe

system customers to provide access to their existing CICS® TS applications from other platforms

over a network.

       26.     CICS® TS Web Services uses a “web service binding file,” known as WSBIND

file, to expose CICS® TS programs as web services and maps data received or sent by the

networked device to the application data structures that reside on the mainframe. Simply put,

IBM’s WSBIND file enables CICS® TS application service access via a network.

       27.     IBM’s WSBIND file contains unique designs and architectural features as well as

structures internal to IBM to enable this important and innovative data mapping solution.

II.    IBM’s innovative CICS® TS is protected by copyright.

       28.     The innovative CICS® TS is of great value to not only IBM, but also its customers.

It is the product of IBM’s investment of vast resources—including time, effort, talent, creativity,


                                                 7
             Case 7:22-cv-09910 Document 1 Filed 11/21/22 Page 8 of 18




and money. The software embodies a series of original, creative choices by IBM and constitutes

copyrightable subject matter under the copyright laws of the United States.

       29.     IBM holds the copyrights for CICS® TS (the “Works”). Attached as Exhibit A,

and incorporated by reference, are copies of Certificates of Registration issued by the Copyright

Office for the Works. Those certificates show the date upon which IBM applied for the Certificate

of Registration, the date on which the certificate was issued, and the registration number assigned.

       30.     The Works—which feature uniquely expressed source code, object code, structure,

architecture, modules, algorithms, data structures, and control instructions—are creative computer

programs that were the product of engineering discretion and substantial skills, resources, and

creative energies. The Works also are of great value to IBM and remain integral to the daily

business operations of much of its IBM mainframe system customer base.

       31.     IBM is the sole owner and proprietor of all right, title, and interest in and to the

copyrights in the Works. The copyrights in the Works are presently valid and subsisting and were

valid and subsisting at all times affecting the matters complained of herein.

III.   IBM partners with third parties to collaboratively develop innovative solutions for
       their mutual customers; Micro Focus is one such third party.

       32.     Over the years, IBM has created a number of opportunities for third parties—large

and small—to collaborate with IBM to help improve, promote, and expand the digital products

and services available to their mutual customers. When IBM and its third parties are united in

their goal to bring innovation to their customers, this partnership benefits all involved: IBM, the

third parties, and particularly their mutual customers. For example, third-party developers receive

substantially discounted access to IBM products and software programs. This facilitates robust

industry engagement and development for products and services that run on IBM mainframe




                                                 8
             Case 7:22-cv-09910 Document 1 Filed 11/21/22 Page 9 of 18




servers. IBM also offers a number of other valuable benefits to its partners, including education

and training, and personalized support.

       33.     Given the significant time, effort, energy, and resources that IBM has invested in

the development of its software and these developer relationships, IBM takes care to provide

contractual limitations on those developers’ access and use of its technology.

       34.     Specifically, developers who participate in the IBM PartnerWorld program

(“PartnerWorld”) agree to the IBM PartnerWorld Agreement and Value Package Attachment (the

“PartnerWorld Agreement”). Along with other agreements, the PartnerWorld Agreement sets the

terms under which developers are permitted to use IBM’s computer programs. These terms ensure

that IBM and its developers are aligned in their goals: to promote innovative solutions for their

mutual customers.

       35.     IBM’s z/OPD Developer Discount Program (“Developer Discount Program”)

similarly provides benefits to third party developers and grants them access to IBM’s valuable

mainframe software. Participants in the Developer Discount Program receive access to IBM

copyrighted software, including the Works. In exchange, IBM’s developers agree to three

different agreements detailing the limited scope of their access and use: (1) IBM’s Client

Relationship Agreement (the “CRA”); (2) Attachment for Developer Discount – IBM Z (the “CRA

Attachment”); and (3) Addendum to the Attachment for Developer Discount for IBM Z (the “CRA

Addendum”).

       36.     Through these agreements, participants in the Developer Discount Program agree

to comply with the terms of the limited license granted to them, and “not us[e] any of the elements

of the Program or related licensed material separately from the Program.” Participants are

prohibited from “reverse assembling, reverse compiling, translating, or reverse engineering the




                                                9
             Case 7:22-cv-09910 Document 1 Filed 11/21/22 Page 10 of 18




Program” and making derivative works based on IBM’s software. Further, IBM’s developers

promise to use their exclusive access to IBM software for the mutual benefit of the parties and

their customers.

       37.     Micro Focus has been and is currently a member of PartnerWorld, and it was a

member of the Developer Discount Program. Micro Focus agreed to the terms in the Partner World

Agreement, the CRA, the CRA Attachment, and the CRA Addendum. These agreements, or

predecessor agreements not materially different from these agreements, were in force at all times

affecting the matters complained of herein. Micro Focus had access to at least IBM’s copyrighted

CICS® TS software when the aforementioned agreements were in force, and Micro Focus

generally has had access to IBM software for nearly the last two decades. Upon information and

belief, Micro Focus copied at least the IBM CICS® TS software sometime within this access

period, and it continues to make and distribute copies of at least the IBM CICS® TS software

today as part of its Accused Works.

       38.     Although developers participating in these programs are given the opportunity to

access and use valuable IBM software, the aforementioned restrictions make clear that such use is

not unlimited. In order to protect its valuable software, IBM relies on its developers’ contractual

agreements. Yet, as discussed below, IBM has come to learn that Micro Focus flagrantly flouted

the terms of at least these agreements to create the Accused Products that Micro Focus then used

and promoted to gain financially at IBM’s expense.

IV.    Micro Focus copied IBM’s copyrighted software and breached its agreements.

       39.     Upon information and belief, Micro Focus created the Micro Focus Enterprise Suite

by copying IBM’s copyrighted Works, and it promotes and uses its infringing software for

financial gain. Micro Focus’s actions were taken in brazen disregard of IBM’s intellectual

property rights and Micro Focus’s contractual obligations to IBM.


                                                10
             Case 7:22-cv-09910 Document 1 Filed 11/21/22 Page 11 of 18




       40.      Micro Focus’s Enterprise Suite offers a web services implementation (“Micro

Focus Web Services”) that includes a WSBIND file for mapping data. Upon information and

belief, Micro Focus created its WSBIND file by copying from IBM as revealed by at least the

following indications of copying:

       •     Micro Focus’s WSBIND file contains near identical architecture and design to IBM’s

             CICS® TS WSBIND file.

       •     Micro Focus’s WSBIND file uses IBM internal structures that are not available outside

             of IBM.

       •     For a given input schema or data structure, the log file generated from the Micro Focus

             Enterprise LS2WS utility is nearly identical to the log file generated by IBM’s CICS®

             TS LS2WS utility.

       •     The Micro Focus utility processing reflected in the log file exhibits the same

             configuration, program sequence, program elements, program optimizations, defects

             and missing features as the corresponding CICS® TS utility programs.

       •     Micro Focus’s WSBIND file is encoded in EBCDIC—like IBM’s—yet, Micro Focus

             has no need for using that encoding as it uses an ASCII environment.

These striking similarities indicate that Micro Focus copied elements of IBM’s copyrighted Works

to create a derivative work in at least Micro Focus Enterprise Developer and Micro Focus

Enterprise Server. There is no way such extensive similarity could arise through attempts to meet

similar functional requirements, or as a result of coincidence. These similarities also indicate that

Micro Focus reverse engineered at least a portion of the CICS® TS software in contravention of

Micro Focus’s various contractual obligations to IBM.




                                                 11
             Case 7:22-cv-09910 Document 1 Filed 11/21/22 Page 12 of 18




       41.     Upon information and belief, Micro Focus’s copying and reverse engineering

significantly reduced the development time and cost required to create the Micro Focus Enterprise

Suite. Micro Focus abused its status as an IBM developer and the associated favorable access to

IBM’s CICS® TS to create its software.

       42.     To be clear, there is no legitimate reason for Micro Focus to have copied IBM’s

computer program. Without copying from IBM, Micro Focus had a broad range of design and

architectural choices that would have allowed it to create software that offers the same features as

the Micro Focus Enterprise Suite. Instead, it chose to use IBM’s technology without permission

and in contravention of its agreements with IBM.

       43.     Upon information and belief, Micro Focus’s brazen theft, use, and promotion of its

infringing software occurred while the aforementioned agreements, or predecessor agreements not

materially different from these agreements, to which Micro Focus agreed as a developer in IBM’s

programs were in effect, and such actions violate these agreements.

       44.     IBM terminated Micro Focus’s involvement in the Developer Discount Program by

sending a Notice of Non-Renewal on May 31, 2021, and Micro Focus’s membership ended by

August 31, 2022.

       45.     IBM cannot stand idle while a licensee exceeds the grant of its license and blatantly

disregards its contractual obligations by reverse-engineering and copying IBM’s copyrighted

software, creating a derivative work, and then promoting and profiting from that pirated software.

To be clear, IBM welcomes legitimate and fair competition as a catalyst for innovation and

progress. IBM cannot sit silent, however, when competition is in the form of surreptitious and

unlawful copying of its hard-earned, developed, and copyrighted software. IBM brings this suit




                                                12
                Case 7:22-cv-09910 Document 1 Filed 11/21/22 Page 13 of 18




to protect its intellectual property and hold Micro Focus accountable for breaching its contractual

obligations to IBM and to recover its damages.

V.        IBM was, and continues to be, harmed by Micro Focus’s breach and infringement.

          46.     IBM has been harmed, and continues to be harmed, by Micro Focus’s breach and

willful infringement of its intellectual property rights.

          47.     Upon information and belief, Micro Focus (1) profits commercially by infringing

IBM’s intellectual property, (2) reduces and causes substantial harm to the value of the Works,

and (3) wrongfully deprives IBM of revenue and profit in using its pirated software for financial

benefit. As a result, IBM has been damaged by Micro Focus’s conduct in an amount to be

determined according to proof at trial.

          48.     Upon information and belief, unless enjoined by this Court, Micro Focus intends to

continue to infringe upon IBM’s copyrights and otherwise to profit from IBM’s Works.

Accordingly, IBM has suffered irreparable harm and will continue to suffer irreparable harm

unless Micro Focus is enjoined from using and promoting its infringing software. IBM has no

adequate remedy at law to redress all of the injuries that Micro Focus has caused and intends to

cause by its conduct. IBM will continue to suffer irreparable damage until Micro Focus’s actions

alleged above are enjoined by this Court.

                                        CLAIM FOR RELIEF

                                            COUNT I
                          Copyright Infringement (17 U.S.C. § 101 et seq.)

          49.     Plaintiff repeats and realleges each and every allegation above as if fully set forth

herein.

          50.     The Works are original, creative works and copyrightable subject matter under the

copyright laws of the United States.



                                                   13
             Case 7:22-cv-09910 Document 1 Filed 11/21/22 Page 14 of 18




       51.     IBM is the owner of valid copyrights in the Works, and the Register of Copyrights

has issued Valid Certificates of Registration as indicated in Exhibit A.

       52.     IBM has complied in all respects with 17 U.S.C. §§ 101 et seq., and has secured

the exclusive rights and privileges in and to the copyrights in its CICS® TS software.

       53.     By its actions, alleged above, Micro Focus has infringed and will continue to

infringe IBM’s copyrights in and relating to IBM’s CICS® TS software by, inter alia, reproducing,

redistributing, and creating derivative works based on the Works without any authorization or

other permission from IBM. Moreover, Micro Focus provided the Accused Works to its customers

knowingly and, by doing so, materially contributed to the infringing use of those works. Micro

Focus has and had the right and ability to stop or limit such infringing use, and it chose not to do

so because it profited from the use of the Accused Works.

       54.     Micro Focus’s infringement of IBM’s copyright has been deliberate, willful, and in

utter disregard of IBM’s rights.

       55.     Upon information and belief, as a direct and proximate result of its wrongful

conduct, Micro Focus has obtained benefits to which Micro Focus is not entitled.

       56.     As a direct and proximate result of Micro Focus’s wrongful conduct, IBM has been

substantially and irreparably harmed in an amount not readily capable of determination. Unless

restrained by this Court, Micro Focus will cause further irreparable injury to IBM.

       57.     IBM is entitled to injunctive relief enjoining Micro Focus, its agents and

employees, and all persons acting in concert or participation with it, from engaging in any further

infringement of IBM’s copyrighted CICS® TS software.

       58.     IBM is further entitled to recover from Micro Focus the damages and attorney’s

fees and costs it has sustained and will sustain, and any gains, profits and advantages obtained by




                                                14
             Case 7:22-cv-09910 Document 1 Filed 11/21/22 Page 15 of 18




Micro Focus as a result of its acts of infringement as alleged above. At present, the amount of

such damages, gains, profits, and advantages cannot be fully ascertained by IBM, but will be

established according to proof at trial. IBM also is entitled to recover statutory damages for Micro

Focus’s willful infringement of its copyrights.

                                          COUNT II
                                       Breach of Contract

       59.      Plaintiff IBM repeats and realleges each and every allegation above as if fully set

forth herein.

       60.      IBM and Micro Focus entered into various contracts governing their relationship,

including but not limited to: the PartnerWorld Agreement; the CRA; the CRA Attachment; and

the CRA Addendum.

       61.      In these agreements, IBM and Micro Focus agreed New York state law governs

these contracts.

       62.      Micro Focus also agreed to comply with the terms of the limited license granted to

them, and “not us[e] any of the elements of the Program or related licensed material separately

from the Program.”

       63.      Micro Focus also agreed not to “reverse assembl[e], reverse compil[e], translat[e],

or reverse engineer[] the Program.”

       64.      Micro Focus also agreed not to make derivative works based on IBM’s software.

       65.      Micro Focus also agreed that its access to IBM’s software was for the mutual

benefit of the parties and their customers.

       66.      As consideration for these agreements, IBM provided Micro Focus with discounts

in exchange for Micro Focus’s development and promotion of one or more software applications




                                                  15
             Case 7:22-cv-09910 Document 1 Filed 11/21/22 Page 16 of 18




that will run on IBM’s mainframes. Micro Focus had access to at least the CICS® TS software as

a result of its execution of at least these agreements and its membership in IBM’s programs.

       67.     As described above, Micro Focus breached at least these provisions of these

agreements through, at a minimum, misusing its preferred access to IBM resources to reverse

engineer IBM’s CICS® TS software to develop competing software. This unlawful conduct

occurred while these provisions were in force.

       68.     As a direct and proximate result of these breaches, IBM has sustained damages,

including but not limited to the value of the software taken and the loss of business.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff IBM respectfully requests judgment against Defendants Micro

Focus as follows:

       A.      Finding that Micro Focus has infringed IBM’s copyrights in the Works;

       B.      Finding that Micro Focus breached its contractual obligations under at least the

PartnerWorld Agreement, CRA, CRA Attachment, and CRA Addendum;

       C.      Finding a substantial likelihood that Micro Focus will continue to infringe IBM’s

intellectual property and breach IBM’s agreements unless enjoined from doing so;

       D.      Issuing a preliminary and/or permanent injunction enjoining Micro Focus and its

agents, servants, employees, attorneys, successors and assigns, and all persons, firms and

corporations acting in concert with it, from: (1) directly or indirectly infringing IBM’s copyrights,

including, but not limited to, reproducing, distributing creating derivative works based upon,

publicly performing or displaying any of IBM’s computer programs; and (2) continuing to breach

the agreements with IBM by, among other things, copying IBM’s software and using its pirated

software for its own financial benefit;




                                                 16
            Case 7:22-cv-09910 Document 1 Filed 11/21/22 Page 17 of 18




       E.      Ordering Micro Focus to render a full and complete accounting to IBM for Micro

Focus’s profits, gains, advantages or the value of the business opportunities received from the

foregoing acts of infringement;

       F.      Entering judgment for IBM against Micro Focus for all damages suffered by IBM

and for any profits or gain by Micro Focus attributable to the infringement of IBM’s Works;

       G.      Entering judgment against Micro Focus for monetary damages to compensate IBM

for the harms described above, which may include the value of the software taken, IBM’s lost

profits, unjust enrichment and disgorgement of profits, and expenses incurred by IBM in

investigating Micro Focus’s misconduct;

       H.      Entering judgment for IBM against Micro Focus for statutory damages based upon

Micro Focus’s willful acts of infringement pursuant to the Copyright Act, 17 U.S.C. § 101 et seq.;

       I.      Awarding IBM costs and disbursements of this action, including reasonable

attorney’s fees and costs pursuant to 17 U.S.C. § 505;

       J.      Awarding IBM pre-judgment and post-judgment interest, to the fullest extent

available, on the foregoing; and

       K.      Grant such other, further, and different relief as the Court deems just and proper.


                               DEMAND FOR TRIAL BY JURY

       Plaintiff demands trial by jury on all issues so triable in this action.




                                                 17
         Case 7:22-cv-09910 Document 1 Filed 11/21/22 Page 18 of 18




Dated: November 21, 2022          /s/ Joshua L. Simmons
                                  Dale M. Cendali
                                  Joshua L. Simmons
                                  KIRKLAND & ELLIS LLP
                                  601 Lexington Avenue
                                  New York, NY 10022
                                  Telephone: (212) 446-4800
                                  Facsimile: (212) 446-6460
                                  dale.cendali@kirkland.com
                                  joshua.simmons@kirkland.com

                                  James John Lomeo (pro hac vice pending)
                                  KIRKLAND & ELLIS LLP
                                  401 Congress Avenue
                                  Austin, TX 78701
                                  Telephone: 512) 678-9100
                                  Facsimile: (512) 678-9101
                                  james.lomeo@kirkland.com

                                  Attorneys for Plaintiff




                                     18
